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18.44 (Rev. 06/17) - TXND (Rev. (>) R | G| N A IVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers asjre une, ial, 8.2019
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the uge of lerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) W]e

 

 

 

 

 

 

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I. (a) 2LAINTIFES ry DEFENDANTS | NORTHERN DISTRICT OF TEXAS |
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CWI. \ We fst} Raye PY City of aNNG
(b) County of Residence of First Listed Plaintiff County of Residence of First Listed Defendant S&S
. (EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF

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(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (if Known)
. 3-19CV-22146
II. BASIS OF JURISDICTION (Place an "X” in One Box Only) Ill, CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
. (For Diversity Cases Only} and One Box for Defendant)
5-4 1 US. Government O 3 Federal Question PT DEF PTF DEF
‘ Plaintiff (U.S. Government Not a Party) Citizen of This State Di © 1 Incorporated or Principal Place o4 04
of Business In This State
O 2 U.S. Government 0 4 Diversity Citizen of Another State oO 2 2 Incorporated and Principal Place o5 05
Defendant (Indicate Citizenship of Parties in Item IID) ~ of Business In Another State
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IV. NATURE OF SUIT (Piace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
a RA : s int ie PPURE/PENALTS _ BANKRUP : A
110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure 0) 422 Appeal 28 USC 158 0 375 False Claims Act
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1 140 Negotiable Instrument Liability (} 367 Health Care/ CF 400 State Reapportionment
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& Enforcement of Judgment Slander Personal Injury 1 820 Copyrights 0 430 Banks and Banking
O 151 Medicare Act 0 330 Federal Employers’ Product Liability 0 830 Patent 450 Commerce
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Student Loans C1 340 Marine Injury Product New Drug Application |( 470 Racketeer Influenced and
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01 190 Other Contract Product Liability 1 380 Other Personal 0) 720 Labor/Management 0 863 DIWC/DIWW (405(g)) Exchange
© 195 Contract Product Liability |) 360 Other Personal Property Damage Relations 1 864 SSID Title XVI 0 890 Other Statutory Actions
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(3 362 Personal Injury - Product Liability 0 751 Family and Medical © 893 Environmental Matters
Medical Malpracti Leave Act 1 895 Freedom of Information

          

 

 

 

 

 

 

REAL PROPER | _ CIVIL RIGHTS (| PRISONER PETITIONS 10) 790 Other Labor Litigation Act
210 Land Condemnation JQ 440 Other Civil Rights Habeas Corpus: C 791 Employee Retirement 1 896 Arbitration
O 220 Foreclosure C) 441 Voting D 463 Alien Detainee Income Security Act or Defendant) 1 899 Administrative Procedure
O 230 Rent Lease & Ejectment 0 442 Employment © 510 Motions to Vacate O 871 IRS—Third Party Act/Review or Appeal of
O} 240 Torts to Land 1 443 Housing/ Sentence 26 USC 7609 Agency Decision
() 245 Tort Product Liability Accommodations O 530 General 0 950 Constitutionality of
© 290 All Other Real Property C445 Amer. w/Disabilities -| 535 Death Penalty q State Statutes
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Cite the U.S. Civil Statute under which you are filing (Do aot cite jurisdictional statutes unless diversity):

 

VI. CAUSE OF ACTION

 

Briefdescription of cause... . ~~ . te ‘, |
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VIL REQUESTED IN ra CHECK IF THIS IS A CLAS$ ACTION ty DEMAND § * " CHECK YES only if demanded if fomplaint:

 

 

 

 

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: G Yes ¥ ONo
VII. RELATED CASE(S) aa os :

IF ANY (See instructions): JUDGE S a, . JA - ER ( (i ite ff [ ) ; | (
DATE SIGNATURE OF ATTORNEY OF RECORD NU
FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
